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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Christopher B. Ghio (State Bar No. 259094)
Christopher Celentino (State Bar No. 131688)
DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
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Proposed Special Counsel to Richard A. Marshack,
Chapter 11 Trustee


          Individual appearing without attorney
          Attorney for:
                                         UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:

The Litigation Practice Group, PC,                                           CASE NO.:                     8:23-bk-10571-SC
                                                                             ADVERSARY NO.: 8:23-ap-01046-SC
                                                                             CHAPTER:                      11
                                                               Debtor(s).

RICHARD A. MARSHACK,
Chapter 11 Trustee
                                                                                      REQUEST THAT THE CLERK ISSUE
                                                                                         ANOTHER SUMMONS AND
                                                                                      NOTICE OF STATUS CONFERENCE
                                                             Plaintiff(s),
                                    vs.
                                                                                                  [LBR 7004-1(a)(1)(B)]
TONY DIAB, an individual; DANIEL S. MARCH, an
individual; ROSA BIANCA LOLI, an individual; et al.

(See Attachment A for complete names of Defendants)
                                                                                            No hearing required [LBR 9013-1(p)]
                                                         Defendant(s).


PLEASE TAKE NOTICE THAT (name of party) Richard A. Marshack, Chapter 11 Trustee
requests that the clerk issue another Summons and Notice of Status Conference, for the reason(s) stated below. This
request is made pursuant to LBR 9013-1(p), which allows the court to grant the request without a hearing.


    A. ORIGINAL SUMMONS NOT TIMELY SERVED [FRBP 7004(e)]

            1. A summons was issued and filed by the clerk as docket entry #                               on (date)                 .

            2. The 7-day period to serve a summons ended on (date)                                     .



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        3. The period to serve a summons ended without service of the summons on the following previously named
           parties:


        a. ________________________________________________________________________________

        b. ________________________________________________________________________________

        c. ________________________________________________________________________________

        4. Therefore, another summons (“alias summons”) is needed.


    B. NEW PARTY TO BE ADDED OR JOINED [FRBP 7014, 7019, 7020]

        1. Movant is:         Plaintiff        Third-Party Plaintiff

        2. Name of the party(ies) to be added or joined:

                        See Attachment B for Parties
                     a. ______________________________________________________________________________

                     b. ______________________________________________________________________________

                     c. ______________________________________________________________________________



       3.   The document that identifies the new party(ies) is filed as docket entry #                         on (date)                   :

                Amended Complaint

                Third-Party Complaint

        4. Therefore, another summons is needed to serve the new party(ies).




     Date: 06/22/2023                          Christopher Ghio
                                               ______________________________________________
                                               Print name of Movant or Attorney for Movant



                                               /s/ Christopher Ghio
                                               ______________________________________________
                                               Signature of Movant or Attorney for Movant




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                                            Attachment A

                                        Names of Defendants



LIST OF DEFENDANTS:



TONY DIAB, an individual; DANIEL S. MARCH, an individual; ROSA BIANCA LOLI, an individual; LISA COHEN,
an individual; WILLIAM TAYLOR CARSS, an individual; ENG TAING, an individual; HENG TAING, an
individual; MARIA EEYA TAN, an individual; JAKE AKERS, an individual; HAN TRINH, an individual; JAYDE
TRINH, an individual; WES THOMAS, an individual; SCOTT JAMES EADIE, an individual; JIMMY CHHOR, an
individual; DONGLIANG JIANG, an individual; MAX CHOU, an individual; OAKSTONE LAW GROUP PC;
GREYSON LAW CENTER PC; PHOENIX LAW, PC; MAVERICK MANAGEMENT GROUP, LLC; LGS HOLDCO, LLC;
CONSUMER LEGAL GROUP, P.C.; VULCAN CONSULTING GROUP LLC; BAT INC. d/b/a COAST PROCESSING;
PRIME LOGIX, LLC; TERACEL BLOCKCHAIN FUND II LLC; EPPS; EQUIPAY; AUTHORIZE.NET; WORLD GLOBAL;
OPTIMUMBANK HOLDINGS, INC. d/b/a OPTIMUM BANK; MARICH BEIN, LLC; BANKUNITED, N.A.;
REVOLV3, INC.; FIDELITY NATIONAL INFORMATION SERVICES, INC. d/b/a FIS; WORLDPAY, LLC; WORLDPAY
GROUP; MERIT FUND, LLC; GUARDIAN PROCESSING, LLC; PAYLIANCE, LLC; TOUZI CAPITAL, LLC; SEAMLESS
CHEX INC; DWOLLA, INC.; STRIPE, INC.
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                                           Attachment B

New Parties to be Added:



Eng Taing

Heng Taing

Jimmy Chhor
Max Chou

Phoenix Law, PC

Maverick Management Group, LLC

BAT Inc. d/b/a Coast Processing

WorldPay, LLC

Guardian Processing, LLC

Payliance, LLC

Touzi Capital, LLC

Seamless Chex Inc.

Dwolla, Inc.

Stripe, Inc.
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                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

655 W. Broadway, Suite 800, San Diego, CA 92101


A true and correct copy of the foregoing document entitled: REQUEST THAT THE CLERK ISSUE ANOTHER
SUMMONS AND NOTICE OF STATUS CONFERENCE [LBR 7004-(1)(a)(1)(C)] will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 06/22/2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

See attached service list.




                                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                        Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                        Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 06/22/2022        Caron Burke
 Date                     Printed Name                                                      Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Christopher Celentino on behalf of Plaintiff Richard A. Marshack
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Christopher Celentino on behalf of Trustee Richard A Marshack (TR)
        christopher.celentino@dinsmore.com, caron.burke@dinsmore.com

        Christopher Ghio on behalf of Plaintiff Richard A. Marshack
        christopher.ghio@dinsmore.com

        Richard H Golubow on behalf of Creditor Debt Validation Fund II, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 1, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Richard H Golubow on behalf of Creditor MC DVI Fund 2, LLC
        rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com

        Daniel A Lev on behalf of Interested Party Courtesy NEF
        daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

        Richard A Marshack (TR)
        pkraus@marshackhays.com, rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

        Kenneth Misken on behalf of U.S. Trustee United States Trustee (SA)
        Kenneth.M.Misken@usdoj.gov

        Queenie K Ng on behalf of U.S. Trustee United States Trustee (SA)
        queenie.k.ng@usdoj.gov

        Douglas A Plazak on behalf of Defendant Greyson Law Center PC
        dplazak@rhlaw.com

        Ronald N Richards on behalf of Defendant Consumer Legal Group, PC
        ron@ronaldrichards.com, 7206828420@filings.docketbird.com

        Andrew Still on behalf of Interested Party Courtesy NEF
        astill@swlaw.com, kcollins@swlaw.com

        United States Trustee (SA)
        ustpregion16.sa.ecf@usdoj.gov

        Johnny White on behalf of Interested Party Courtesy NEF
        JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com




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June 2012                                                                                           F 9013-.1.PROOF.SERVICE
